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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

           UNITED STATES OF AMERICA                                  No. 3:19-CR-083-M

           v.

           RUEL M. HAMILTON

                                 GOVERNMENT’S SECOND AMENDED
                                        EXHIBIT LIST1

    Exhibit           Description             Sponsoring                      Offered        Admitted           Bates
                                               Witness                                                        Numbers
       1        T-Mobile subscriber      Pre-Admitted                                                       00079925
                records for Caraway      PStephenson
                phone numbers ending ETighe
                in **7336, **6663,       Business Record
                **4320                   Affidavit
                                         (“BRA”)
       2        Caraway toll records for Pre-Admitted                                                       00079926 –
                T Mobile phone number PStephenson                                                           00079930
                ending in **7336,        ETighe
                **6663, **4320           BRA

       3        AT&T subscriber          Pre-Admitted                                                       00028000
                information for Hamilton PStephenson                                                        00028873
                phone number ending in ETighe                                                               00028874
                **3934                   BRA                                                                00070418
                                                                                                            00270947
                                                                                                            00270948
       4        Hamilton toll records for Pre-Admitted                                                      00028011
                AT&T phone number         PStephenson                                                       00027998
                ending in **3934          ETighe                                                            00270951
                                          BRA                                                               00271057
       5        Summary chart of          Pre-Admitted                                                      N/A
                Hamilton and Caraway PStephenson
                toll records for 8/2/18
1
  This Exhibit List utilizes the same numbers for the government’s exhibits 1 through 227 as those used in June 2021. (Dkt. 303).
Exhibits 228 through 246 are new exhibits not included in the government’s Exhibit List filed in June 2021.




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  Exhibit          Description           Sponsoring             Offered    Admitted       Bates
                                          Witness                                       Numbers
      6     8/2/18 call at 3:30 pm  Pre-Admitted                                      00000051
            between Hamilton and DCaraway
            Caraway                 PStephenson/ ETighe
      7     Transcript of 8/2/18    Pre-Admitted                                      00036811 –
            call at 3:30 pm         DCaraway                                          00036821
                                    PStephenson/ ETighe
      8     Text Messages between Pre-Admitted                                        00000370
            Hamilton and Dwaine     DCaraway
            Caraway on 8/2/18 at    PStephenson/ ETighe
            4:15pm                  MWaples
      9     8/3/18 recording of     Pre-Admitted                                      00000053 –
            meeting between         DCaraway                                          00000068
            Hamilton and Caraway
     10     Transcript of 8/3/18    Pre-Admitted                                      N/A
            meeting                 DCaraway
     11     $7,000 check written by Pre-Admitted                                      00000366
            Hamilton to Caraway on DCaraway
            8/3/18
     12     Surveillance photos of Pre-Admitted                                       00000464 –
            Hamilton on 8/3/18      MHuber                                            00000468
     13     8/7/18 recording of     DCaraway                                          00047859
            meeting between
            Caraway, Davis, and
            Roberts
     14     Transcript of 8/7/18    DCaraway                                          N/A
            meeting
     15     Photos of Christy       DCaraway                                          00083899 –
            Wiggins                                                                   00083903
     16     Photos of Blue          DCaraway                                          00083894 –
            Corvette                                                                  00083898
     17     DCC Official Action     MWaples                                           00082250 –
            for Item 34 on 5/10/17 BRA                                                00082269
     18     RESERVED

     19     Recording of meeting        DCaraway                                      00235985
            between Hamilton and        UCE 5271
            City of Dallas
            regarding PD on 9/6/17




Government’s Second Amended Exhibit List – Pg. 2
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  Exhibit          Description           Sponsoring             Offered    Admitted       Bates
                                          Witness                                       Numbers
     20     Transcript of 9/6/17    DCaraway                                          N/A
            meeting                 UCE 5271
     21     Philip Kingston Request Pre-admitted                                      00080234 –
            for Placement of Agenda MRawlings                                         00080246
            Item –Earned Paid Sick BRA
            Leave on 2/27/19

     22     4/24/19 Dallas City         MRawlings                                     00080381 –
            Council Agenda                                                            00080404
     23     4/24/19 Dallas City         MRawlings                                     00080405 –
            Council Minutes                                                           00080482
     24     4/24/19 Video of Dallas     MRawlings                                     00074247,
            City Council Meeting        BRA                                           00080483 –
                                                                                      00080484
     25     Partial Transcript of   MRawlings                                         N/A
            4/24/19 Dallas City
            Council Meeting –
            Comments by Mike
            Rawlings
     26     HUD funds to City of    SHenly                                            00082217 –
            Dallas: Oct 2013 – Sep JSangavnag                                         00082242
            2018
     27     Secretary of State      Pre-Admitted                                      00075748 –
            records re: Amerisouth MWaples                                            00076506
     28     Secretary of State      Pre-Admitted                                      00075657 –
            records: re: BonnieView MWaples                                           00075683

     29     Google Earth Map of         Pre-Admitted                                  N/A
            Bonnie View & 11th          MWaples
            Street
     30     RESERVED

     31     Amerisouth’s Royal      Pre-Admitted                                      00234525 –
            Crest LIHTC application BBoston                                           00235641,
            to Texas                BRA                                               00234493 –
            Department of Housing                                                     00234494
            and Community Affairs


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  Exhibit          Description           Sponsoring             Offered    Admitted       Bates
                                          Witness                                       Numbers
     32     Photo(s) of Royal Crest MWaples                                           00081848 –
                                    TJones                                            00081855
     33     Hamilton Amegy Bank Pre-Admitted                                          Various
            records for account     VCasterline                                       Ranges
            ending in **8967        BRA
     34     Hamilton Amegy Bank Pre-Admitted                                          Various
            records for account     VCasterline                                       Ranges
            ending in **5234        BRA
     35     Hamilton Amegy Bank Pre-Admitted                                          Various
            records for account     VCasterline                                       Ranges
            ending in **3308        BRA
     36     Hamilton Independent Pre-Admitted                                         Various
            Bank of Texas records VCasterline                                         Ranges
            for account ending in   BRA
            **1273
     37     Hamilton Sovereign      Pre-Admitted                                      Various
            Bank records for        VCasterline                                       Ranges
            account ending in       BRA
            **0497
     38     Hamilton Veritex Bank Pre-Admitted                                        Various
            records for account     VCasterline                                       Ranges
            ending in **1620        BRA
     39     Hamilton Plains         Pre-Admitted                                      Various
            Capital Bank records    VCasterline                                       Ranges
            for account ending in   BRA
            **2820
     40     AS Management           Pre-Admitted                                      Various
            Services LLC Veritex    VCasterline                                       Ranges
            Bank records for        BRA
            account ending in
            **8014
     41     Windchime               Pre-Admitted                                      Various
            Investments LLC         VCasterline                                       Ranges
            Veritex Bank records    BRA
            for account ending in
            **2788




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  Exhibit          Description               Sponsoring         Offered    Admitted       Bates
                                              Witness                                   Numbers
     42     Hip Hop Government          Pre-Admitted                                  Various
            Inc. Bank of America        VCasterline                                   Ranges
            records for account         BRA
            ending in **7505
     43     Hip Hop Government      Pre-Admitted                                      Various
            Inc. Bank of America    VCasterline                                       Ranges
            records for account     BRA
            ending in **7592
     44     Hip Hop Government      Pre-Admitted                                      Various
            Inc. Bank of America    VCasterline                                       Ranges
            records for account     BRA
            ending in **7725
     45     Hamilton $5,000 check MWaples                                             00000395
            to MLK Center dated
            11/18/13; Amegy Bank
            account ending in
            **8967; check # 5046
     46     Hamilton $2,500 checkto Pre-Admitted                                      00000377
            Jay Scroggins dated     JScroggins
            11/18/2013; Amegy
            Bank account ending
            **8967; check # 5048
     47     TDHCA Qualified         Pre-Admitted                                      00235901 –
            Allocation Plan 2015    BMitchell                                         00235934,
                                    BBoston                                           00235943 –
                                    BRA                                               00235944
     48     Davis 2014 City of      Pre-Admitted                                      00083684 –
            Dallas financial        BJohnson                                          00083709
            disclosure form         MWaples
     49     Hamilton $2,500 check Pre-Admitted                                        00000399
            to Hip Hop Government JScroggins
            dated 9/10/14;
            Independent Bank of
            Texas account ending in
            **1273; check # 1040




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  Exhibit          Description               Sponsoring         Offered    Admitted       Bates
                                              Witness                                   Numbers
     50     Dallas Housing              Pre-Admitted                                  00271147 –
            Department Memo re:         BMitchell                                     00271160
            Low Income Housing
            Tax Credit Program
            dated 10/17/14
     51     Hamilton $2,500 check Pre-Admitted                                        00000403
            to Hip Hop Government JScroggins
            dated 10/20/14; Amegy
            Bank account ending in
            **8967; check # 5022
     52     Hamilton $9,000 check Pre-Admitted                                        00000421
            to Hip Hop Government JScroggins
            dated 11/7/14;
            Sovereign Bank account
            ending in **0497; check
            # 589
     53     Hamilton $6,000 check Pre-Admitted                                        00000423
            to Hip Hop Government JScroggins
            dated 11/18/14;
            Sovereign account
            ending in **0497; check
            # 621
     54     12/8/14 recorded        MWaples                                           00235991,
            conversation between                                                      00235995,
            Davis and UCEs                                                            00235999,
                                                                                      00236003
     55     Transcript of 12/8/14 MWaples                                             N/A
            conversation
     56     Dallas Housing        Pre-Admitted                                        00271207 –
            Department Memo re:   BMitchell                                           00271227
            Low Income Housing
            Tax Credit Program
            dated 1/2/15
     57     Hamilton $3,500 check Pre-Admitted                                        00000374
            to Hip Hop Government JScroggins
            dated 1/8/15; Amegy
            account ending in
            **8967; check # 5054




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  Exhibit          Description               Sponsoring         Offered    Admitted       Bates
                                              Witness                                   Numbers
     58     Dallas Housing              Pre-Admitted                                  00075048 –
            Finance Corporation         BMitchell                                     00075050,
            minutes for 1/13/15         BRA                                           00271467
            meeting

     59     Hamilton $1,500 check Pre-Admitted                                        00000376
            to Hip Hop Government JScroggins
            dated 1/22/15; Amegy
            account ending in
            **8967; check # 5058
     60     Hamilton checks to      Pre-Admitted                                      00035376,
            Dallas City Council     MWaples                                           00035377,
            Member Tiffinni                                                           00017863
            Young dated 1/22/15
     61     Dallas Housing          Pre-Admitted                                      00271161 –
            Department Memo re:     BMitchell                                         00271206
            Low Income Housing
            Tax Credit Program
            dated 1/30/15
     62     2/2/15 Dallas Housing Pre-Admitted                                        00073329 –
            Committee vote re:      BMitchell                                         00073331
            Royal Crest
     63     2/2/15 video of Dallas  Pre-Admitted                                      00073150,
            Housing Committee       BMitchell                                         00075645
            meeting                 BRA
     64     2/16/15 call at 2:37 pm MWaples                                           00050311
            between Davis and
            Sherman Roberts.
            Session # 147
     65     Transcript of 2/16/15   MWaples                                           N/A
            call at 2:37 pm
     66     2/16/15 call at 3:49 pm Pre-Admitted                                      00050320
            between Hamilton and MWaples
            Davis. Session # 156
     67     Transcript of 2/16/15   Pre-Admitted                                      N/A
            call at 3:49 pm         MWaples




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  Exhibit          Description               Sponsoring         Offered    Admitted       Bates
                                              Witness                                   Numbers
     68     2/20/15 call at 12:27       Pre-Admitted                                  00050675
            pm between Hamilton         MWaples
            and Davis. Session #
            510
     69     Transcript of 2/20/15       Pre-Admitted                                  N/A
            call at 12:27 pm            MWaples


     70     2/22/15 call at 8:34 am Pre-Admitted                                      00050822
            between Davis and          JScroggins
            Scroggins. Session #
            658
     71     Transcript of 2/22/15      Pre-Admitted                                   N/A
            call at 8:34 am            JScroggins
     72     2/22/15 call at 9:04 am JScroggins                                        00050823
            between Davis and
            Scroggins. Session #
            659
     73     Transcript of 2/22/15      JScroggins                                     N/A
            call at 9:04 am
     74     2/23/15 meeting at 1:06 JScroggins                                        00037229
            pm between Davis,
            Scroggins, and UCE-
            5271.
     75     Transcript of 2/23/15      JScroggins                                     N/A
            call at 1:06 pm
     76     2/23/15 call at 6:33 pm JScroggins                                        00050917
            between Davis and
            Scroggins. Session #
            753
     77     Transcript of 2/23/15 call JScroggins                                     N/A
            at 6:33 pm
     78     2/24/15 call at 8:00 am Pre-Admitted                                      00050962
            between Davis and          JScroggins
            Scroggins. Session #
            798
     79     Transcript of 2/24/15      Pre-Admitted                                   N/A
            call at 6:33 pm            JScroggins




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  Exhibit          Description               Sponsoring         Offered    Admitted       Bates
                                              Witness                                   Numbers
     80     2/25/15 Dallas City         Pre-Admitted                                  00073152 –
            Council agenda re:          BMitchell                                     00073190
            Royal Crest
     81     2/25/15 Dallas City      Pre-Admitted                                     00073191 –
            Council minutes re:      BMitchell                                        00073328
            Royal Crest
     82     2/25/15 Audio            Pre-Admitted                                     00271307,
            Recording of Dallas      BMitchell                                        00075645
            City Council vote re:    BRA
            Royal Crest
    82A     Transcript of 2/25/15    Pre-Admitted                                     N/A
            Audio recording of       BMitchell
            Dallas City Counsel vote
            re: Royal Crest from
            2:43:20 to 2:44:36 and
            4:17:30 to 4:18:48
     83     Resolution 15-409        Pre-Admitted                                     00075158 –
            authorizing $2.52        BMitchell                                        00075166
            million loan for Royal
            Crest
     84     2/26/15 call at 9:57 am Pre-Admitted                                      00051136
            between Hamilton and MWaples
            Davis. Session # 972
     85     Transcript of 2/26/15    Pre-Admitted                                     N/A
            call at 9:57 am          MWaples
     86     Hamilton checks to       Pre-Admitted                                     00028989 –
            Dallas City Council      MWaples                                          00028990
            Member Carolyn
            Arnold dated 2/27/15
     87     Hamilton checks to       Pre-Admitted                                     00028990 –
            Dallas City Council      MWaples                                          00028992
            Member Dwaine            DCaraway
            Caraway dated 2/27/15
            and 3/18/15




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  Exhibit          Description             Sponsoring                Offered   Admitted       Bates
                                            Witness                                         Numbers
     88     Hamilton $2,000 check Pre-Admitted                                            00000435
            to Hip Hop Government JScroggins
            dated 3/6/15;
            International Bank of
            Texas account ending in
            **1273; check # 1084
     89     3/6/15 call at 4:23 pm    Pre-Admitted                                        00051718
            between Hamilton and MWaples
            Davis. Session # 1554
     90     Transcript of 3/6/15 call Pre-Admitted                                        N/A
            at 4:23 pm                MWaples
     91     3/9/15 call at 4:42 pm      Pre-Admitted                                      00051867
            between Hamilton and        MWaples
            Davis. Session # 1703
     92     Transcript of 3/9/15        Pre-Admitted                                      N/A
            call at 4:42 pm             MWaples
     93     3/20/15 call at 11:23       MWaples                                           00052889
            am between Davis and
            Dallas City Council
            Member candidate
            Tiffinni Young.
            Session # 2502
     94     Transcript of 3/20/15       MWaples                                           N/A
            call at 11:23 am
     95     3/31/15 call at 10:06       Pre-Admitted                                      00053790
            am between Davis and        MWaples
            Hamilton. Session #
            3403
     96     Transcript of 3/31/15       Pre-Admitted                                      N/A
            call at 10:06 am            MWaples
     97     3/31/15 call at 9:29 pm     JScroggins                                        00053884
            between Davis and
            Scroggins. Session #
            3497
     98     Transcript of 3/31/15       MWaples                                           N/A
            call at 9:29 pm




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  Exhibit          Description               Sponsoring              Offered   Admitted       Bates
                                              Witness                                       Numbers
     99     4/10/15 call at 4:17 pm     Pre-Admitted                                      00054724
            between Davis and           MWaples
            Hamilton. Session #
            4337
    100     Transcript of 4/10/15       Pre-Admitted                                      N/A
            call at 4:17 pm             MWaples
    101     4/10/15 call between        Pre-Admitted                                      00054748
            Davis and Scroggins at      JScroggins
            9:31 pm. Session #4361
    102     Transcript of 4/10/15       Pre-Admitted                                      N/A
            call at 9:31 pm             JScroggins
    103     4/13/15 call at 4:16 pm     Pre-Admitted                                      00000153
            between Hamilton and        MWaples
            Davis. Session # 4506
    104     Transcript of 4/13/15       Pre-Admitted                                      00036776 –
            call at 4:16 pm             MWaples                                           00036779
    105     4/14/15 call at 4:52 pm     Pre-Admitted                                      00000155
            call between Hamilton       MWaples
            and Davis. Session #
            4586
    106     Transcript of 4/14/15       Pre-Admitted                                      N/A
            call at 4:52 pm.            MWaples
    107     4/14/15 call at 9:16 pm     Pre-Admitted                                      00054995
            between Davis and           JScroggins
            Scroggins. Session #
            4608
    108     Transcript of 4/14/15       Pre-Admitted                                      N/A
            call at 9:16 pm             MWaples
    109     Surveillance photos of      Pre-Admitted                                      00000500,
            Hamilton on 4/14/15         MWaples                                           00000558,
                                                                                          00000618,
                                                                                          00000630
    110     Surveillance photos of      Pre-Admitted                                      00000652,
            Hamilton’s vehicle on       MWaples                                           00000656
            4/14/15
    111     4/23/15 call at 9:24 am     Pre-Admitted                                      00000158
            between Hamilton and        MWaples
            Davis. Session # 5198


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  Exhibit          Description               Sponsoring              Offered   Admitted       Bates
                                              Witness                                       Numbers
    112     Transcript of 4/23/15       Pre-Admitted                                      00036780 –
            call at 9:24 am             MWaples                                           00036800
    113     4/26/15 call at 8:58 pm     Pre-Admitted                                      00056218
            between Davis and           JScroggins
            Scroggins. Session #
            5515
    114     Transcript of 4/26/15       Pre-Admitted                                      N/A
            call at 8:58 pm             MWaples
    115     4/29/15 call at 9:28 am     Pre-Admitted                                      00056446
            between Hamilton and        MWaples
            Davis. Session # 5743
    116     Transcript of 4/29/15       Pre-Admitted                                      N/A
            call at 9:28 am             MWaples
    117     Amended Resolution          Pre-Admitted                                      00079637 –
            15-0457 authorizing         BMitchell                                         00079642,
            $168,000 loan for           BRA                                               00079614
            Royal Crest dated
            5/8/15
    118     5/8/15 call at 2:37 pm      Pre-Admitted                                      00000163
            between Davis and           MWaples
            Hamilton. Session #
            6591
    119     Transcript of 5/8/15        Pre-Admitted                                      N/A
            call at 2:37 pm             MWaples
    120     5/11/15 call at 10:26       Pre-Admitted                                      00000165
            am between Hamilton         MWaples
            and Davis. Session #
            6706
    121     Transcript of 5/11/15       Pre-Admitted                                      N/A
            call at 10:26 am.           MWaples
    122     5/18/15 call at 12:49       Pre-Admitted                                      00000172
            pm between Hamilton         MWaples
            and Davis. Session #
            7245
    123     Transcript of 5/18/15       Pre-Admitted                                      00036801 –
            call at 12:49 pm            MWaples                                           00036806




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  Exhibit          Description               Sponsoring              Offered   Admitted       Bates
                                              Witness                                       Numbers
    124     International Bank of       Pre-Admitted                                      00016655
            Texas record for            MWaples
            $5,000 withdrawal
            dated 5/18/15 from
            account ending in
            **1620
    125     FBI surveillance photos Pre-Admitted                                          00000661,
            of Davis on 5/18/15     JKoressell                                            00000663,
                                    SPetty                                                00000665,
                                                                                          00000671,
                                                                                          00000674,
                                                                                          00000677
    126     FBI surveillance video      Pre-Admitted                                      00000690
            of Hamilton and Davis       JKoressell
            on 5/18/15                  SPetty
    127     Surveillance video of       Pre-Admitted                                      00016676
            Hamilton at Amegy           MWaples
            Bank on 5/18/15             VPerez
    128     6/1/15 call at 9:03 pm      Pre-Admitted                                      00072733
            between Davis and           MWaples
            Hamilton. Session #
            8400
    129     Transcript of 6/1/15        Pre-Admitted                                      N/A
            call at 9:03 pm             MWaples
    130     6/2/15 call at 10:36 am     Pre-Admitted                                      00000185
            between Hamilton and        MWaples
            Davis. Session # 8437
    131     Transcript of 6/2/15        Pre-Admitted                                      N/A
            call at 10:36 am            MWaples
    132     6/4/15 call at 10:49 am     Pre-Admitted                                      00000190
            between Hamilton and        MWaples
            Davis. Session # 8688
    133     Transcript of 6/4/15        Pre-Admitted                                      N/A
            call at 10:49 am.           MWaples
    134     6/4/15 call at 3:53 pm      Pre-Admitted                                      00000191
            between Hamilton and        MWaples
            Davis. Session # 8719
    135     Transcript of 6/4/15        Pre-Admitted                                      00036807 –
            call at 3:53 pm             MWaples                                           00036810



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  Exhibit          Description               Sponsoring              Offered   Admitted       Bates
                                              Witness                                       Numbers
    136     6/5/15 call at 11:08 am     Pre-Admitted                                      00000192
            between Hamilton and        MWaples
            Davis. Session # 8809
    137     Transcript of 6/5/15     Pre-Admitted                                         N/A
            call at 11:08 am         MWaples
    138     6/5/15 call at 11:35 am Pre-Admitted                                          00000193
            between Hamilton and MWaples
            Davis. Session # 8822
    139     Transcript of 6/5/15     Pre-Admitted                                         N/A
            call at 11:35 am         MWaples
    140     Sovereign Bank record Pre-Admitted                                            00028992
            for $4,000 withdrawal    MWaples
            on 6/5/15 from account
            ending in **0497
    141     Sovereign Bank record Pre-Admitted                                            00028993
            for $5,000 withdrawal on MWaples
            6/11/15 from account
            ending in **0497

    142     6/13/15 call at            MWaples                                            00061885
            approximately 8:18 am
            between Davis and John
            Proctor. Session #9781
    143     Transcript of 6/13/15      MWaples                                            N/A
            call at approximately
            8:18 am
    144     6/13/15 call at 9:56 pm Pre-Admitted                                          00061987
            between Hamilton and MWaples
            Davis. Session # 9883
    145     Transcript of 6/13/15 call Pre-Admitted                                       N/A
            at 9:56 pm                 MWaples
    146     3/14/16 recorded           MWaples                                            00042602,
            conversation between                                                          00042603
            Davis and UCEs
    147     Transcripts of 3/14/16     MWaples                                            N/A
            conversation between
            Davis and UCEs




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  Exhibit          Description               Sponsoring              Offered   Admitted       Bates
                                              Witness                                       Numbers
    148     2015 TDHCA                  Pre-Admitted                                      00085301
            Competitive Housing         BBoston
            Tax Credits Award and
            Waiting List
    149     Recording of voicemail LMartin                                                N/A
            left by Hamilton to
            Leslie Martin on 1/8/20
    150     Transcript of voicemail LMartin                                               N/A
            dated 1/8/20
    151     Redacted copy of           LMartin                                            N/A
            telephone call between
            Hamilton and Leslie
            Martin on 1/13/20
    152     Transcript of redacted     LMartin                                            N/A
            call dated 1/13/20
    153     Redacted copy of           LMartin                                            N/A
            telephone call between
            Hamilton and Leslie
            Martin on 1/22/20
    154     Transcript of redacted     LMartin                                            N/A
            call dated 1/22/20
    155     Subscriber information Pre-Admitted                                           Various
            and toll records for Davis DRamsey                                            Ranges
            phone numbers ending in MWaples
            **2797, **6285, *7601 BRA
    156     Cell site data of Davis     MWaples                                           00080797,
            and Hamilton meetings                                                         00080799,
            [3/9; 3/31; 4/14; 5/18;                                                       00080801,
            6/5/15]                                                                       00080803,
                                                                                          00080805
    157     Hamilton 2013 tax           Pre-Admitted                                      00178117 –
            return                      EAttaway/ ML Speer                                00178287
    158     Hamilton 2014 tax           Pre-Admitted                                      00178568 –
            return                      EAttaway/ ML Speer                                00178726
    159     Hamilton 2015 tax           Pre-Admitted                                      00179040 –
            return                      EAttaway/ ML Speer                                00179194
    160     Hamilton 2016 tax           EAttaway                                          00179506 –
            return                      ML Speer                                          00179670



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  Exhibit          Description              Sponsoring               Offered   Admitted       Bates
                                              Witness                                       Numbers
    161     Davis 2015 tax return       EAttaway                                          00085587 –
                                                                                          00085596
    162     Caraway Plea                Pre-Admitted                                      00000019 –
            Agreement                   DCaraway                                          00000028
    163     Caraway Factual             DCaraway                                          N/A
            Resume
    164     Caraway Information         Pre-Admitted                                      00000008 –
                                        DCaraway                                          00000018
    165     Caraway Plea                DCaraway                                          00035598 –
            Supplement                                                                    00035600
    166     Caraway Grand Jury          DCaraway                                          N/A
            Waiver
    167     Scroggins Plea              Pre-Admitted                                      N/A
            Agreement                   JScroggins
    168     Scroggins Factual           JScroggins                                        N/A
            Resume
    169     Scroggins Information       JScroggins                                        N/A
    170     Scroggins Plea              Pre-Admitted                                      N/A
            Supplement                  JScroggins
    171     Scroggins Grand Jury        JScroggins                                        N/A
            Waiver
    172     Davis Plea Agreement        MWaples                                           00000043 –
                                        SAllen                                            00000049
                                        HHarris
    173     Davis Factual Resume        MWaples                                           00000029 –
                                        SAllen                                            00000034
                                        HHarris
    174     Davis Information           MWaples                                           00000035 –
                                        SAllen                                            00000042
                                        HHarris
    175     Davis Plea Supplement       MWaples                                           00035601 –
                                        SAllen                                            00035603
                                        HHarris
    176     Davis Grand Jury            MWaples                                           N/A
            Waiver                      SAllen
                                        HHarris
    177     Davis guilty plea on        MWaples                                           00083737 –
            3/1/19                      SAllen                                            00083763



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  Exhibit          Description               Sponsoring              Offered   Admitted       Bates
                                               Witness                                      Numbers
    178     Davis guilty plea on        Sallen                                            00083764 –
            3/29/19                     HHarris                                           00083770
    179     Secretary of State          Pre-Admitted                                      00081856 –
            Records re: Hip Hop         JScroggins                                        00081868
            Government, Inc.
    180     Hamilton checks to      Pre-Admitted                                          Various
            Davis post-DCC          VCasterline                                           Ranges
    181     2015 Campaign           Pre-Admitted                                          00081882 –
            Finance Report for      BJohnson                                              00082121
            Tiffinni Young          MWaples
    182     4/1/15 call at 4:22 pm  MWaples                                               00053946
            between Davis and       CKing
            King
    183     Transcript of 4/1/15    MWaples                                               N/A
            call at 4:22 pm
    184     Hamilton Pen Register DRamsey                                                 Various
            Data                    MWaples                                               Ranges
    185     Davis Pen Register      DRamsey                                               Various
            Data                    MWaples                                               Ranges
    186     AT&T subscriber         MWaples                                               Various
            information and toll    BRA                                                   Ranges
            records for Scroggins
            phone number ending
            in **5829
    187     Sprint subscriber       Pre-Admitted                                          Various
            information and toll    MWaples                                               Ranges
            records for Davis phone
            number ending in **7601
    188     2015 LIHTC Notice of Pre-Admitted                                             00235943
            Funding Availability    BMitchell
            (NOFA)                  BBoston
    189     Wiretap Order           MWaples                                               00049031 –
                                                                                          00049042
                                                                                          00049055 –
                                                                                          00049066
    190     Exhibit Timeline            Pre-Admitted                                      N/A
            Summary Chart               MWaples




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  Exhibit          Description               Sponsoring          Offered    Admitted       Bates
                                              Witness                                    Numbers
    191     Checks to Scroggins         Pre-Admitted                                   N/A
            and Hip Hop Govt.           VCasterline
            Summary Chart
    192     Hamilton Money to       VCasterline                                        N/A
            Royal Crest Summary
            Chart
    193     Hamilton’s Local        Pre-Admitted                                       N/A
            Political Contributions VCasterline
            Summary Chart
    194     Hamilton’s State        VCasterline                                        N/A
            Political Contributions
            Summary Chart
    195     Hamilton’s Federal      VCasterline                                        N/A
            Political Contributions
            Summary Chart
    196     Payments from           Pre-Admitted                                       N/A
            Hamilton to Davis       VCasterline
            Summary Chart
    197     Carolyn King Arnold     Pre-Admitted                                       N/A
            Campaign Donations      VCasterline
            Summary Chart
    198     Other Campaign          Pre-Admitted                                       N/A
            Donations Summary       VCasterline
            Chart
    199     Dwaine Caraway          Pre-Admitted                                       N/A
            Campaign Donations      VCasterline
            Summary Chart
    200     Tiffany Young Campaign Pre-Admitted                                        N/A
            Donations Summary       VCasterline
            Chart
    201     Hamilton and Davis      Pre-Admitted                                       N/A
            Phone Contact           MWaples
            Summary Chart           DRamsey
    202     RESERVED
    203     8/3/18 Dwaine               PStephenson                                    N/A
            Caraway and Mattie          MWaples
            Caraway Phone
            Activity Summary
            Chart


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  Exhibit          Description             Sponsoring            Offered    Admitted       Bates
                                            Witness                                      Numbers
    204     Overt Acts Summary          MWaples                                        N/A
            Chart
    205     Hamilton 2010 Tax           ML Speer                                       00176633 –
            Return                      EAttaway                                       00176833
                                        BRA
    206     Amerisouth                  ML Speer                                       00114899
            Management, L.P.            IRS Custodian
            Notice of Federal Tax
            Lien
    207     Amerisouth                  ML Speer                                       00132842 –
            Management, L.P.            EAttaway                                       00132875
            2010 Tax Return             BRA
    208     Secretary of State          ML Speer                                       00075748 –
            Records re:                 MWaples                                        00075777
            Amerisouth
            Acquisitions, Inc.
    209     Secretary of State          Pre-Admitted                                   00082173 –
            Records re: Texas           ML Speer                                       00082174
            Royal Crest LP              MWaples
    210     2/2/11 Email from           ML Speer                                       00114897 –
            Christy Cumbie re:          IRS Custodian                                  00114900
            IRS Lien
    211     3/11/15 Email from          ML Speer                                       00106637 –
            Jennifer Muegel re:         JMuegel                                        00106645
            Royal Crest with            BRA
            attachments
    212     6/5/13 Email from           ML Speer                                       00122884 –
            Rule Hamilton re: IRS       IRS Custodian                                  00122886
            Lien
    213     7/23/13 Email from          ML Speer                                       00122668 –
            Leslie Martin re: IRS       IRS Custodian                                  00122675
            Lien
    214     Summary Chart of            Pre-Admitted                                   N/A
            Text Messages               MWaples
            between Davis and
            Hamilton on 2/25/15
    215     4/14/15 call at 4:04        Pre-Admitted                                   00000154
            pm between Davis and        MWaples
            Hamilton. Session #
            4583


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  Exhibit          Description               Sponsoring          Offered    Admitted       Bates
                                              Witness                                    Numbers
    216     Transcript of 4/14/15       Pre-Admitted                                   N/A
            call at 4:04 pm             MWaples

    217     Text Messages               MWaples                                        00072794 –
            between Davis and                                                          00072800
            Hamilton on 2/25/15
    218     4/21/15 call at 12:11       MWaples                                        00055647
            pm between Griggs           RGriggs
            and Davis Session #
            4944
    219     Transcript of 4/21/15       MWaples                                        Last Trial
            call at 12:11 pm            RGriggs
    220     Stipulations of Parties     N/A                                            Last Trial
            (Dkt. 288)
    221     7/13/15 call at 2:38        MWaples                                        Last Trial/
            pm between Davis and                                                       Provided
            Hamilton Session #                                                         (Expanded
            11976                                                                      Session)
    222     Transcript of 7/13/15       MWaples                                        Last Trial/
            call at 2:38 pm                                                            Provided
                                                                                       (Expanded
                                                                                       Session)
    223     Carolyn Arnold 2015         CArnold                                        Last Trial/
            Campaign Finance                                                           Admitted
            Report
    224     Checks from Hamilton        CArnold                                        Last Trial/
            to Carolyn Arnold                                                          Provided
    225     July 2018 Campaign          TJones                                         Last Trial/
            Finance Reports for                                                        Admitted
            Thomas G. Jones
    226     July 2019 Campaign          TJones                                         Last Trial/
            Finance Reports for                                                        Admitted
            Thomas G. Jones
    227     July 2020 Campaign          TJones                                         Last Trial/
            Finance Reports for                                                        Admitted
            Thomas G. Jones




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    Exhibit             Description                  Sponsoring                   Offered   Admitted        Bates
                                                       Witness                                           Numbers
       228      The Black Academy                CKing                                                 Last
                of Arts and Letters                                                                    Trial/Provided
                Gala Pamphlets for
                2015 and 2016
       229      Scroggins Sealed Motion JScroggins                                                     Dkt. 363

       230      Scroggins Judgment               JScroggins                                            Dkt. 372

       231      Affidavit of Robert              MWaples                                               Defense
                Sherman dated 9/9/21                                                                   document
       232      Reserved                         Reserved                                              Reserved

       233      7/7/15 call at 1:54 pm           Pre-Admitted2                                         DX 80
                between Davis and                MWaples
                Hamilton Session #
                11270
       234      Transcript of 7/7/15 call        Pre-Admitted3                                         DX 80A
                at 1:54 pm                       MWaples
       235      Caraway Sealed Motion - DCaraway                                                       Dkt. 23
                3:18-CR-409-M
       236      Caraway Judgment -               DCaraway                                              Dkt. 29
                3:18-CR-409-M
       237      Caraway Sealed Motion- DCaraway                                                        Dkt. 38
                3:18-CR-409-M
       238      Caraway Order –                  DCaraway                                              Dkt. 39
                3:18-CR-409-M
       239      4/13/05 call at 5:18 pm MWaples/King                                                   Provided
                between Davis and King                                                                 Prior to Last
                Session # 4520                                                                         Trial
       240      Transcript of 4/13/15 call MWaples/King                                                Provided
                at 5:18 PM                                                                             Prior to Last
                                                                                                       Trial



2
    This exhibit was Pre-Admitted as defense exhibit 80. (Dkt. 342 at pg. 17).
3
    This exhibit was Pre-Admitted as defense exhibit 80A. (Dkt. 342 at pg. 17).



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  Exhibit          Description         Sponsoring                Offered    Admitted       Bates
                                         Witness                                         Numbers
    241     AEI Consultants records BRA/MWaples                                        GOV_
                                                                                       00004099
    242     Texas State Bank l/k/a BRA/MWaples                                         Provided
            BBVA account records                                                       Prior to Last
            for Royal Crest account                                                    Trial
            ending in 4369
    243     Apartment Market Data, BRA/MWaples                                         GOV_
            LLC records                                                                00004104
    244     KAI Alliance records        BRA/MWaples                                    GOV_
                                                                                       00004316
    245     Veracity records            BRA/MWaples                                    GOV_
                                                                                       00004241
    246     Summary Exhibit of       MWaples
            Expenses for Royal Crest
            TDHCA Application




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                                                    Respectfully submitted,

                                                    CHAD E. MEACHAM
                                                    Acting United States Attorney

                                                    /s/ Tiffany H. Eggers
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                                      CERTIFICATE OF SERVICE

             I hereby certify that on May 23, 2025, I electronically filed the foregoing

      document with the Clerk of Court for the United States District Court, Northern District

      of Texas, using the electronic case filing system of the Court. The electronic case filing

      system sent a “Notice of Electronic Filing” to all attorneys who have consented in writing

      to accept this Notice as service of this document.


                                                    /s/ Tiffany H. Eggers
                                                    TIFFANY H. EGGERS
                                                    Assistant United States Attorney




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